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                            UNITED STATES DISTRICT COURT
                         FOR THE EASTERN DISTRICT OF TEXAS
                                MARSHALL DIVISION


MAIN HASTINGS, LLC,

       Plaintiff,

v.
                                                    Case No. 2:10-cv-00481
TARGET CORPORATION; TARGET
BRANDS, INC.,                                       JURY TRIAL DEMANDED

       Defendants.

                       ORDER OF DISMISSAL WITH PREJUDICE

       CAME ON THIS DAY for consideration of the Stipulated Motion for Dismissal With

Prejudice of all claims and counterclaims asserted between plaintiff, Main Hastings, LLC, and

Defendants, Target Corporation and Target Brands, Inc., in this case, and the Court being of the

opinion that said motion should be GRANTED, it is hereby

       ORDERED, ADJUDGED AND DECREED that all claims asserted in this suit between

plaintiff, Main Hastings, LLC, and Defendants, Target Corporation and Target Brands, Inc., are

hereby dismissed with prejudice, subject to the terms of that certain agreement entitled

“SETTLEMENT AGREEMENT” and dated March 22, 2011.

       It is further ORDERED that all attorneys’ fees and costs are to be borne by the party that

incurred them.

       SIGNED this 29th day of March, 2011.



                                             __________________________________________
                                             T. JOHN WARD
                                             UNITED STATES DISTRICT JUDGE
